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   EXHIBIT D
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                               Reasons for Allowance


1.     Claims 1-19 are allowed after entering the Examiner's Amendment as discussed
in the EXAMINER'S AMENDMENT section.


2.     Claims 1-7 are allowed as having incorporated novel features comprising an
apparatus/method/computer process for encoding a picture in an image sequence
comprising:
       means for dividing said picture into 'a plurality of smaller portions, wherein each
of said smaller portions has a size that is larger than one' macroblock;
       means for selectively encoding at least one of said plurality of smaJler portions at
a time in frame coding mode and at least one of said plurality of smaller portions at a
time in field coding mode; and .
           means for selectively encoding at least one block within at least one of said.
plurality of smaller portions at a time in inter coding mode.
       Claims 8-18 are allowed as having incorporated novel features comprising an
apparatus/method for decoding an encoded picture comprising:
       means for decoding at least one of said plurality of smaller portions at a time of
the encoded picture that is encoded in frame coding mode and at least one of said
plurality of smaller portions at a time of the encoded picture in field coding mode,
wherein each of said smaller portions has a size that is larger than one macroblock,
wherein at least one block within at least one of said plurality of smaller portions at a
time is encoded in inter co~ing mode; and
       meaRS for using said plurality of decoded smaller portions to construct, a decoded
picture.
       Claim 19 is allowed as having incorporated novel features comprising a
bitstream .comprising:
       a picture that has been divided into a plurality of smaller portions, wherein at
least one of said plurality of smaller portions at a time is encoded in frame coding mode
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and at least one of said plurality of smaller portions at a time is encoded in field coding
mode, wherein each of said smaller portions has a size that is larger than one
macroblock, and wherein at least one block within at least one of said plurality of
smaller portions at a time is encoded in inter coding mode.
       The prior art of record fails to anticipate or make obvious the novel features
(emphasis added on underlined claim(s) limitations) as specified above.
       Any comments considered necessary by Applicant must be submitted no later
than the payment of the issue fee and, to avoid processing delays, should preferably
                                                                           ,.
accompany the issue fee. Such submissions should be clearly labeled "Comments on
Statement of Reasons for Allowance."


                                   Conclusion
3.     The prior art made of record is considered pertinent to Applicant's disclosure.
       A.   Obikane et al (5,504,530) Apparatus and method for coding and decoding
image signals.


4.     Any inquiry concerning this communication or earlier communications from the
Examiner should be directed to Shawn S. An whose telephone number is 571-272-7324.


5.     The fax phone number for the organization where this application or proceeding
is assigned is 571-273-8300.


6.     Information regarding the status of an application may be obtained from the
Patent Application Information Retrieval (PAIR) system. Status information for
published applications may be obtained from either Private PAIR or Public PAIR.
Status information for unpublished applications is available through Private PAIR only.
For more information about the PAIR system, see http://pair-direct.uspto.gov. Should
you have questions on access to the Private PAIR system, contact the Electronic
Business Center (EBC) at 866-217-9197 (toll-free).        <::5::>~
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